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6
7                      IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                )
                                              )
10             Plaintiff,                     )
                                              )
11      v.                                    )
                                              )
12   MANUEL MEJIA ORDONEZ                     )
                                              )
13                                            )
             Defendant                        )
14   ___________________________________
15           Cr. No. 08-90 EJG
16           ORDER
17   TO: THE U.S. MARSHAL FOR THE EASTERN DISTRICT OF CALIFORNIA AND THE
18   COMMANDER OF THE SACRAMENTO COUNTY JAIL: At the request of the
19   Defendant, the Government not objecting, the Court orders that the
20   defendant be permitted one phone call, not at Government or Jail
21   expense, to his family in Mexico, provided that it can be
22   accomplished consistent with staffing and security concerns.
23   Dated: April 6, 2009.
24
25                                     /s/ Edward J. Garcia
                                       UNITED STATES DISTRICT JUDGE
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28                                        1
